      Case 1:24-cv-00941-RPK-RML Document 4 Filed 02/08/24 Page 1 of 2 PageID #: 26


AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Eastern District ofNew York

                          Skiy Pyrame                                )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                v.                                   )       Civil Action No. 24-cv-941-RPK-RML
                                                                     )
              MDTWN Group LLC; Jabari Bell                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
                                           MDTWN Group LLC, 2205 Dhow Ct., Bowie, Maryland, 20721

                                           Jabari Bell, 109-92 201st Street, Jamaica, NY 11412




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintifrs attorney,
whose name and address are:

                                           Skiy Pyrame, 12 Windcrest Ct, Covington, Georgia, 30016




       If you fail to respond, judgm_ent by default will be entered against you for the relief demanded in the com.jiaint.
You also must file your answer or motion with the court.                        BRENNA B. 'MAHONE I
                                                                                CLERK OF COURT


Date: ----------
         02/08/2024
                                                                                          Signature of Clerk or Deputy Clerk




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                                                                     ..
      Case 1:24-cv-00941-RPK-RML Document 4 Filed 02/08/24 Page 2 of 2 PageID #: 27


AO 440(Rev.06/12) Summons in a Civil Action(Page 2)

Civil Action No. 24-cv-941-RPK-RML


                                                        PROOF OF SERVICE
                   (This section should not befiled with the court unless required by Fed, R. Civ, P,4(I))

          This summons for (name ofindividual and tide, ifany)
 was received by me on (date)

          □ I personally served the summons on the individual at (place)
                                                                             on (date)                             ; or


          □ I left the summons at the individual's residence or usual place of abode with (name)
                                                              , a person of suitable age and discretion who resides there,
           on (date)                            , and mailed a copy to the individual's last known address; or

           □ I served the summons on (name of individual)                                                                   , who is
           designated by law to accept service of process on behalf of (name oforganization)
                                                                             on (date)                             ; or


           □ 1 returned the summons unexecuted because                                                                           ; or

           □ Other (specify):




           My fees are $                        for travel and $                  for services, for a total of $          Q.QQ

           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server's signature



                                                                                     Printed name and title




                                                                                         Server's address



 Additional information regarding attempted seryice, etc:
